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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

      UNITED STATES OF AMERICA,                   )
                                                  )
                     PLAINTIFF,                   )      Case No. 3:11-CR-00012
      vs.                                         )      JUDGE WISEMAN
                                                  )
      JERRY DINKINS                               )
                                                  )
                     DEFENDANT.                   )


            MOTION TO JOIN CERTAIN MOTIONS FILED BY CO-DEFENDANTS

             Comes now the Defendant, Jerry Dinkins, by and through the undersigned

     counsel, and moves this Honorable Court for permission to join all motions to suppress

     the various wiretaps in the above referenced case (Document # 744, 745, 777, 800, 818,

     822, 828, 835, 846, and 875) that have been filed by co-defendants. In addition, the

     Defendant also requests to join the following motions filed by co-defendants:

             Doc. # 851- Parnell’s Motion in Limine #1

             Doc. # 854 Parnell’s Motion for Early Disclosure of Jencks Act Materials

             Doc. # 855 Parnell’s Motion for Pretrial Written Notice of Impeaching Conduct

             Doc. # 862 Johnson’s Motion for Government Agents to Retain Rough Notes

             Doc. # 863 Johnson’s Motion to Reveal Statements the Government intends to

     use as Co-Conspirator Statements

             Doc. # 941 Cross’s Motion in Limine #2

              For grounds, the Defendant would state that the factual assertions and legal

     arguments made in those motions by his co-defendants apply equally to him. As such,

     the granting of this motion provides for judicial economy.




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